Case 0:18-cv-63010-DPG Document 1 Entered on FLSD Docket 12/10/2018 Page 1 of 5



                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                                        CASE NO.:

 ALTA SHUR,

        Plaintiff,

 v.

 PAUL MICHAEL MARKETING
 SERVICE, INC.,

       Defendant.
 _______________________________/

                          COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff ALTA SHUR (“Plaintiff”), sues Defendant PAUL MICHAEL MARKETING

 SERVICE, INC. (“PMMS” or “Defendant”), for violations of § 1692e, § 1692e(2)(A), § 1692e(5),

 and § 1692e(10) of the Fair Debt Collection Practices Act (the “FDCPA”) and § 559.553 of the

 Florida Consumer Collection Practices Act (the “FCCPA”), and in support thereof, Plaintiff states

 the following:

                                         DEMAND FOR JURY TRIAL

        1.        Plaintiff is entitled to, and hereby respectfully demands, a trial by jury on all alleged

 counts and any issues so triable. See Sibley v. Fulton DeKalb Collection Service, 677 F.2d 830

 (11th Cir.1982) (wherein the Eleventh Circuit held that, “a plaintiff, upon timely demand, is

 entitled to a trial by jury in a claim for damages under the FDCPA.”).

                                         JURISDICTION AND VENUE

        2.        Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C § 1331, and

 28 U.S.C § 1337.



                                                        Page 1 of 5

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Case 0:18-cv-63010-DPG Document 1 Entered on FLSD Docket 12/10/2018 Page 2 of 5



         3.        Venue in this District is proper because Plaintiff resides here, PMMS transacts

 business here, and the complained conduct of PMMS occurred here.

                                                         PARTIES

         4.        Plaintiff is a natural person, and a citizen of the State of Florida, residing in Broward

 County, Florida.

         5.        PMMS is a New York corporation, with its principal place of business located in

 Fresh Meadows, New York.

         6.        PMMS engages in interstate commerce by regularly using telephone and mail in a

 business whose principal purpose is the collection of debts.

         7.        At all times material, PMMS was acting as a debt collector in respect to the

 collection of Plaintiff’s debts.

         8.        At all times material, PMMS has been subject to the FCCPA. See In re Hathcock,

 437 B.R. 696, 704 (Bankr. M.D. Fla. 2010) (“Unlike the FDCPA, the [FCCPA] applies not only

 to debt collectors but to any persons collecting a consumer debt.” (emphasis added)); See, e.g.,

 Heard v. Mathis, 344 So. 2d 651, 654 (Fla. 1st DCA 1977) (holding the FCCPA applied to “a

 private individual making an oral, non-interest bearing loan to a friend.”); Schauer v. General

 Motors Acceptance Corp., 819 So. 2d 809, 812 n. 1 (Fla. 4th DCA 2002) (creditors are not exempt

 from FCCPA liability, whether it be direct or vicarious).

                                            FACTUAL ALLEGATIONS

         9.        The debt at issue (the “Consumer Debt”) is a financial obligation Plaintiff incurred

 primarily for personal, family, or household purposes.

         10.       PMMS is a business entity engaged in the business of soliciting consumer debts for

 collection.


                                                         Page 2 of 5

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Case 0:18-cv-63010-DPG Document 1 Entered on FLSD Docket 12/10/2018 Page 3 of 5



        11.        PMMS is a business entity engaged in the business of collecting consumer debts.

        12.        PMMS regularly collects or attempts to collect, directly or indirectly, debts owed

 or due or asserted to be owed or due another.

        13.        PMMS is a “consumer collection agency” as defined by Fla. Stat. § 559.55(3).

        14.        The Consumer Debt is a “debt” governed by the FDCPA and FCCPA. See 15 U.S.C

 § 1692a(5); Fla. Stat. § 559.55(6).

        15.        Plaintiff is a “consumer” within the meaning of the FDCPA. See 15 U.S.C §

 1692a(3).

        16.        PMMS is a “debt collector” as defined by the FDCPA and FCCPA. See 15 U.S.C

 § 1692a(6); Fla. Stat. § 559.55(7).

        17.        On a date better known by PMMS, it began attempting collect the Consumer Debts

 from Plaintiff.

        18.        On or about July 02, 2018, PMMS mailed a collection letter to Plaintiff (the

 “Collection Letter”) in an attempt to collect the Consumer Debt. A copy of the Collection Letter

 is attached hereto as Exhibit “A.”

        19.        PMMS engaged in activity constituting “any action to collect [a] debt” by mailing

 the Collection Letter to Plaintiff. See Fla. Stat. § 559.715

        20.        PMMS identifies itself as a “debt collector” in the Collection Letter. See Exhibit A.

        21.        PMMS is an entity required to register as a consumer collection agency with the

 Florida Department of State, as per Fla. Stat. § 559.553(1), to lawfully collect consumer debts

 from Florida consumers.

        22.        PMMS has never registered, or otherwise been licensed, to collect consumer debts

 from Florida consumers in accordance with Fla. Stat. § 559.553.


                                                        Page 3 of 5

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Case 0:18-cv-63010-DPG Document 1 Entered on FLSD Docket 12/10/2018 Page 4 of 5



        23.       PMMS does not fall within any of the exemptions contained within Fla. Stat. §

 559.553(3).

        24.       PMMS cannot legally collect, or attempt to collect, the Consumer Debt from

 Plaintiff without first registering, and thereafter maintaining, a valid consumer collection agency

 license in accordance with Fla. Stat. §§ 559.553(1) & (2).

        25.       PMMS’s collection activities against Plaintiff constitute a criminal misdemeanor

 under Florida law. See Fla. Stat. § 559.785.

                                  COUNT I.
            VIOLATION OF THE FDCPA, 15 U.S.C. § 1692e, e(2)(A), e(5), & e(10)

        26.       Plaintiff incorporates the preceding Factual Allegations.

        27.       PMMS is liable to Plaintiff for its attempt to collect the Consumer Debt because

 Defendant did not first register, and thereafter maintain, a valid consumer collection agency license

 in accordance with Florida law. See Fla. Stat. § 559.553

        28.       PMMS’ failure to obtain a consumer debt collection license as mandated by Florida

 Statutes § 559.553, while actively engaging in debt collection in the State of Florida, violated 15

 U.S.C § 1692e and e(10) because attempting to collect a debt while not licensed as required by

 Florida law is a false, deceptive, and misleading practice.

        29.       PMMS’ failure to obtain a consumer debt collection license as mandated by Florida

 Statutes § 559.553, while actively engaging in debt collection in the State of Florida, violated 15

 U.S.C § 1692e(2)(A) because attempting to collect a debt and/or actually collecting a debt while

 not licensed as required by Florida law constitutes a false representation of the character and legal

 status of the Consumer Debt.




                                                        Page 4 of 5

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Case 0:18-cv-63010-DPG Document 1 Entered on FLSD Docket 12/10/2018 Page 5 of 5



        30.       PMMS’ failure to obtain a consumer collection agency license, as mandated by

 Florida Statutes § 559.553, while attempting to collect the Consumer Debt from Plaintiff (by and

 through the Collection Letter), is a violation of 15 U.S.C § 1692e(5), in that, PMMS’s attempt to

 collect the underlying debt from Plaintiff while not licensed as required by Florida law, and

 otherwise holding itself out to Plaintiff as an entity that it may lawfully collect money from a

 Florida consumer, is a threat to take action that cannot legally be taken.

                                              PRAYER FOR RELIEF

        31.       Plaintiff respectfully requests this Court to enter a judgment against PMMS,

 awarding Plaintiff the following relief:

        (a)       Statutory damages, as provided under 15 U.S.C. §1692k;

        (b)       Costs and attorneys’ fees, as provided by 15 U.S.C. §1692k; and

        (c)       Such other or further relief as the Court deems proper.



                                                           Respectfully Submitted,

                                                     By: /s/ Thomas J. Patti, III
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                                                        Page 5 of 5

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